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                                      EXHIBIT A

                                    Proposed Order




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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                           Chapter 11
    In re:
                                                                           Case No. 23-10852 (KBO)
                                   1
    iMedia Brands, Inc., et al.,
                                                                           (Jointly Administered)
                                                Debtors.
                                                                           Ref. Docket Nos. 13, 16 and ___

                   ORDER SHORTENING NOTICE RELATED TO:
       (A) DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)(A)
              APPROVING THE DEBTORS’ PROPOSED ADEQUATE ASSURANCE
         OF PAYMENT FOR FUTURE UTILITY SERVICES, (B) APPROVING THE
         DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING ADDITIONAL
     ASSURANCE REQUESTS, AND (C) PROHIBITING UTILITY PROVIDERS FROM
             ALTERING, REFUSING, OR DISCONTINUING SERVICES; AND
                       (II) GRANTING RELATED RELIEF; AND
      (B) DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
     AUTHORIZING DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF LIEN
            CLAIMANTS AND RELATED OBLIGATIONS, (II) AUTHORIZING
           DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF CERTAIN
        SECTION 503(b)(9) CLAIMANTS, AND (III) GRANTING RELATED RELIEF

             Upon the Debtors’ motion (the “Motion to Shorten”)2 for entry of an order shortening

notice of the (a) Debtors’ Motion for Entry of Interim and Final Orders (I)(A) Approving the

Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (B) Approving the

Debtors’ Proposed Procedures for Resolving Additional Assurance Requests, and (C) Prohibiting

Utility Providers from Altering, Refusing, or Discontinuing Services; and (II) Granting Related

Relief [Docket No. 16] (the “Utility Motion”) and (b) Debtors’ Motion for Entry of Interim and

Final Orders (I) Authorizing Debtors to Pay Certain Prepetition Claims of Lien Claimants and

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
2
      Capitalized terms used but not defined herein are defined in the Motion to Shorten.



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Related Obligations, (II) Authorizing Debtors to Pay Certain Prepetition Claims of Certain

Section 503(b)(9) Claimants, and (III) Granting Related Relief [Docket No. 13] (the “Lien

Claimants Motion” and collectively with the Utility Motion, the “Motions”); and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012, and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of this proceeding and the Motion to Shorten

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion to Shorten is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and after due deliberation and sufficient cause appearing

therefor;

        IT IS HEREBY ORDERED THAT:

        1.       The Motion to Shorten is GRANTED as set forth herein.

        2.       The Utility Motion and Lien Claimants Motion shall be considered at a hearing

scheduled for July 5, 2023, at 2:00 p.m. (ET) (the “Hearing”).

        3.       Objections, if any, to the relief requested in the Utility Motion and Lien Claimants

Motion can be made at or before the Hearing.




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